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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA


UNITED STATE OF AMERICA                          )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )          CR-09-005-JHP
                                                 )
CALVIN HARVEY FRENCH,                            )
                                                 )
               Defendant.                        )


                                             ORDER

        Defendant filed a Motion for Medical/Psychiatric Exam (Dkt.# 269) on May 20, 2009,

pursuant to 18 U.S.C. §4241. The Court granted the motion (Dkt.# 294) on May 22, 2009, ordered

that a psychiatric or psychological examination of the defendant be conducted, and that a report be

filed with the Court. Thereafter, the defendant was evaluated by Dr. Judith Campbell, Ph.D. and her

report was filed on September 9, 2009 (Dkt.# 313). In Dr. Campbell’s report she states that “the

present evaluation supports a finding of Mr. French’s present competency to stand trial.”

        After receiving the Report prepared by Dr. Campbell, the Court held a competency hearing

on September 10, 2010.      At the hearing, the parties stipulated to the Report, but presented no

additional evidence or testimony.

        Based upon the conclusions set forth in Ms. Campbell’s Report, the Court finds that

Defendant is not presently suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense. 18 U.S.C. § 4241(d); see Nguyen v.

Reynolds, 131 F.3d 1340, 1346 (10th Cir. 1997) (“Competence to stand trial requires that a

defendant have ‘sufficient present ability to consult with his lawyer with a reasonable degree of
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rational understanding’ and ‘a rational as well as factual understanding of the proceedings against

him.’”) (quoting Dusky v. United States, 362 U.S. 402, 402 (1960)).

       Accordingly, the Court finds that Defendant is competent to proceed to trial.




       IT IS SO ORDERED this 10th day of September, 2009.
